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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL D

&nbsp;



NOVEMBER
9, 2010

&nbsp;



&nbsp;

RODERICK GLENN WILLIAMS

A/K/A RODERICK GLEN WILLIAMS, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 372ND DISTRICT COURT OF TARRANT
COUNTY;

&nbsp;

NO. 1159483D; HONORABLE DAVID SCOTT WISCH, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and PIRTLE, JJ.

&nbsp;

&nbsp;

ABATE AND REMAND

&nbsp;

Following an open plea of guilty,
appellant Roderick Glenn Williams was convicted by the trial court of
possession with intent to deliver a controlled substance of four grams or more
but less than 200 grams, namely cocaine.&nbsp;
Punishment was assessed at thirty years confinement in prison.&nbsp; A notice of appeal was filed July 8, 2010.

The clerk’s record was filed in this
court on August 3, 2010, and the reporter’s record was filed on September
8.&nbsp; The deadline for filing appellant’s
brief was October 8, but it was not filed.&nbsp;
By letter of October 18, we notified appellant’s retained counsel of the
defect and explained that failure to file the brief by October 28 would result
in the appeal being abated and the cause remanded to the trial court for
further proceedings.&nbsp; See Tex. R. App. P. 38.8(b)(2) &amp; (3).&nbsp;
Nevertheless, appellant did not file his brief.&nbsp; We, therefore, abate the appeal and remand
the case to the trial court for further proceedings.

On remand, the trial court is
directed to immediately notice and conduct a hearing to determine: 

1. whether
appellant still wishes to pursue his appeal;

2. whether
appellant is indigent; or, if not indigent, whether retained counsel has
abandoned the appeal;

3. if appellant is indigent, whether appellant
is entitled to appointment of counsel.

We further direct the
trial court to issue findings of fact and conclusions of law addressing the
subjects numerically itemized above.&nbsp; 

If the trial court finds appellant is
indigent and wishes to pursue his appeal, it shall appoint counsel to assist
appellant in the prosecution of the appeal.&nbsp;
The name, address, telephone number, telefax
number, and state bar number of the counsel appointed
to represent appellant on appeal must also be included in the trial court’s
findings of fact and conclusions of law.&nbsp;
If the trial court appoints counsel under this paragraph, appellant’s
brief shall be filed in this court thirty days from the date of counsel’s
appointment. 

Furthermore, the trial court shall
cause to be developed 1) a supplemental clerk’s record containing the findings
of fact and conclusions of law and all orders of the trial court issued as a
result of its hearing on this matter and 2) a reporter’s record transcribing
the evidence and argument presented at the hearing on this matter. Additionally,
the trial court shall cause the supplemental record to be filed with the clerk
of this court on or before December 10, 2010.&nbsp;
If additional time is required to perform these tasks, the trial court
may so request by December 10, 2010.

It is so ordered.

&nbsp;

Per Curiam

&nbsp;

Do not
publish. 

&nbsp;

&nbsp;

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